       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 1 of 6



                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL                     §
LEAGUE PLAYERS’ CONCUSSION                   §
LITIGATION                                   §
___________________________________          §     No. 12-md-2323 (AB)
                                             §
                                             §           MDL No. 2323
THIS DOCUMENT RELATES TO:                    §
ALL ACTIONS                                  §

  The Alexander Objector’s Consolidated Reply to Co-Lead Class Counsel’s
   Response to their Motion to Compel Compliance with CMO5 and their
      Supplemental Objection to Co-Lead Class Counsel’s Fee Petition

      The Alexander Objectors file this brief reply to Co-Lead Class Counsel’s

Consolidated Memorandum (1) in Opposition to the Alexander Objectors’ Motion

to Compel Compliance with CMO5, and (2) in Response to the First Supplement in

Support of the Alexander Objector’s Objections:

                                      CMO 5

      The Alexander Objectors have asked the Court to compel Co-Lead Class

Counsel to file their Case Management Order No. 5 (ECF 3710, CMO 5) Quarterly

Fee/Expense Reports, along with the underlying Summary Time and Expense

Report Forms. The Court ordered the data maintained in 2012. Co-Lead Class

Counsel does not want those reports and data made public, though they claim $112.5

million in fees is reasonable for the work performed but undisclosed.




                                         1
       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 2 of 6



 In 2017, Co-Lead Class Counsel            In 2012, Co-Leas Class Counsel said this
 says CMO5 was for its benefit:            about CMO5, when asking for it:

 “CMO5 was … adopted for ... the           1. “Imposing record-keeping procedures
 Plaintiffs’court-appointed leadership     and requiring submission of periodic
 – so that time reports could be           reports ‘encourages lawyers to maintain
 regularly received from firms             records adequate for the Court’s
 performing common benefit work            purposes,’ and facilitates Court review
 and periodically evaluated so that,       of later-submitted fee petitions, if any.”
 down the road, Co-Lead Counsel            ECF 3698, at p. 3, citing Manual for
 (who subsequently were apoointed          Complex Litigation (Fourth) section
 as Co-Leas Class Counsel) would be        14.213 (2011).
 in an informed postion to base any
 combined fee application or               2. Section 14.213 of the referenced
 recommended fee allocation.” See          Manual suggests not only maintaining
 Co-Lead         Class      Counsel’s      contemporaneous time records “in any
 Consolidated Memorandum in                large litigation, but also use of that
 Opposition, ECF 8440, at p. 4 (citing     specific data “as a cross-check on the
 nothing).                                 percentage-of-fund method.”


      CMO5 data was not ordered maintained and certified for Co-Lead Class

Counsel’s internal use. Upon Co-Lead Class Counsel’s motion, it was ordered for

the auditor’s review and then the Court’s use. Co-Lead Class Counsel offers no

post-settlement confidentiality or privacy concerns to public disclosure of fee and

expense statement; they simply don’t want anyone to “nitpick.” CMO5 is the nitpick

– one engaged in by Co-Lead Class Counsel voluntarily. And, the Class Members

should have a chance to see the fee data that purports to justify exhausting the $112.5

million fee fund before the Court begins appropriating the “5% set-aside” from each

Class Member’s settlement for “new” money to cover future fees, including the $5

million in “new fees” already dedicated by Co-Lead Class Counsel to the set-aside

                                          2
       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 3 of 6



that has not yet been ordered.     See Proposed Allocation of Common Benefit

Attorneys Fee, ECF 8447, p. 19.

In the alternative, Co-Lead Class        But, of course
Counsel urges that the Court does
not need the fee/expense data:

“There is particularly no need here      1. The Court is well acquainted with
for the kind of painstaking              attorney hours spent with the Court; but
inspection of time records and           the Court did not spend 50,912.39 hours
auditor’s reports that that Alexander    with counsel. By this logic, timesheets
Objectors envision. Having closely       would never be necessary.
overseen this litigation for more than
five years now, the Court is well        2. The data should already exist; by
acquainted with the efforts of           Court order, it has been prepared,
counsel performing common benefit        certified and reviewed by the auditor this
work.” See Co-Lead Class Counsel’s       Court appointed. The Court ORDERED
Consolidated Memorandum in               it be done quarterly and ORDERED that
Opposition, ECF 8440, at p. 6.           if it wasn’t done, the fee “will not be
                                         considered for common benefit
                                         payments if a Common Benefit Fund is
                                         later established by this Court.”

                                         3. This Court has already appointed
                                         Professor Rubenstein to provide his
                                         expert opinion on the reasonableness of
                                         requiring class members to contribute a
                                         portion of their recoveries to pay fees
                                         and whether such process “will result in
                                         attorney over compensation (double-
                                         dipping).”

                                         4. If Professor Rubenstein cannot see
                                         what services are covered by the first dip,
                                         he cannot assess whether counsel are
                                         double dipping.




                                         3
       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 4 of 6



      CMO5 data need not be painstakingly reviewed because it should already

comply with the previously-established guidelines and should have already been

vetted by Alan B. Winikur, CPA/ABV/CFF. And, “[s]uch records are an important

factor in determining the total reasonable hours spent on the case and who actrually

performed the work that produced the result.” See Judge Eldon E. Fallon, Common

Benefit Fees in Multidistrict Litigation, 74 La. L. Rev. 371, 383 (2014).

      The Court has now ORDERED (ECF 8367) Co-Lead Class Counsel to

provide a “detailed submission as a proposal for the allocation of lawyers’ fees”

including “precise amounts to be awarded” and “justification of those amounts based

on an analysis of the work performed.” That analysis is not based upon the CMO5

data. It is not based upon any audited time. Instead, it is an ad hoc divination of the

relative value of each of the firms’ contributions that is a “substantive, procedural,

and practical failure,” just as it was in Vioxx. See Charles L. Becker, How Not to

Manage a Common Benefit Fund: Alocating Attorneys’ Fees in Vioxx Litigation, 9

DREXEL L. REV. 1, 24 (noting the failings of the point system in the Vioxx litigation

and observing that “[l]odestar has stood the test of time” and is a most useful tool

when allocation is proposed by “self-interested actors”).

      Here, Co-Lead Class Counsel, serving as the allocator, has a financial interest

in the resulting awards. That does not mean Co-Lead Class Counsel’s proposed

allocation is disqualified or per se wrong. It does mean that the Court is being asked



                                          4
       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 5 of 6



to give deference to “the fox who recommends how to divvy up the chickens.” In

re: Diet Drugs, 401 F.3d 143, 173 (3d Cir. 2005) (Ambro, J., concurring) (analyzing

the “procedure by which allocation [is] rendered”).          Although Co-Lead Class

Counsel has criticized the Alexander Objectors for “nitpicking” the conclusory

lodestar data, Co-Lead Class Counsel has returned exclusively to this superficial,

unaudited data to make proposed allocations upon which the Court is asked to rely.

Requiring public disclosure of the CMO5 data will provide transparency to the

determination of “relative value of the contribution” of the firms because the CMO5

data required the details of the contribution and it set forth the contributions that the

Court believed was valuable. Disclosure and use of the CMO5 data will bring the

transparency to this process to which courts uniformly aspire.

                  SUPPLEMENT TO OBJECTION TO FEE PETITION

 Co-Lead Class Counsel “begs a              The Alexander Objectors answer:
 question:”

 Why are the Alexander Objectors        The Alexander Objectors are relying
 relying upon a three-month old         upon the June, 2017 joint status report
 (June, 2017) joint status report       because it is the only report Co-Lead
 showing the claims the administrator   Class Counsel and the NFL parties have
 has authorized payment of only two     filed since the the claims process was
 (2) out of the 869 total claims made?  “launched” on March 23, 2017.
 See ECF 7827-1, p. 9.
                                     PRAYER

      For the reasons set forth herein, and in their motion, the Alexander Objectors

ask the Court to compel Co-Lead Class Counsel—and all other counsel who intend



                                           5
       Case 2:12-md-02323-AB Document 8449 Filed 10/12/17 Page 6 of 6



to seeks attorneys’ fees and expense reimbursements—to file the Quarterly Reports

contemplated by CMO 5, along with the underlying Summary Time and Expense

Report Forms.

Date: October 12, 2017                       Respectfully Submitted,

                                 /s/ Lance H. Lubel
Mickey Washington                Lance H. Lubel
Texas State Bar No.: 24039233    Texas State Bar No.: 12651125
WASHINGTON & ASSOCIATES, PLLC Adam Voyles
2019 Wichita Street              Texas State Bar No.: 24003121
Houston, Texas 77004             Justin R. Goodman
Telephone: (713) 225-1838        Texas State Bar No.: 24036660
Facsimile: (713) 225-1866        LUBEL VOYLES LLP
Email: mw@mickeywashington.com   675 Bering Dr., Suite 850
                                 Houston, TX 77057
James Carlos Canady              Telephone: (713) 284-5200
Texas State Bar No.: 24034357    Facsimile: (713) 284-5250
THE CANADY LAW FIRM              Email: lance@lubelvoyles.com
5020 Montrose Blvd., Suite 701   adam@lubelvoyles.com
Houston, TX 77006                jgoodman@lubelvoyles.com
Telephone: (832) 977-9136
Facsimile: (832) 714-0314
Email: ccanady@canadylawfirm.com

  Attorneys for Melvin Aldridge, Trevor Cobb, Jerry W. Davis, Michael Dumas,
   Corris Ervin, Robert Evans, Anthony Guillory, Wilmer K. Hicks, Jr., Richard
 Johnson, Ryan McCoy, Emanuel McNeil, Robert Pollard, Frankie Smith, Tyrone
             Smith, James A. Young Sr., and Baldwin Malcom Frank

                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of
record via the Court’s ECF system on October 12, 2017.

                                             /s/ Lance H. Lubel
                                             Lance H. Lubel



                                         6
